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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
ARNULFO MALDONADO, SANTIAGO,
HERRERA, JORGE LEYVA CABRERA, and
DOMINGO JUAREZ, individually and on
behalf of others similarly situated,

                                  Plaintiffs,              Case No. 20-cv-6850

                 -against-                                 PROPOSED ORDER OF DEFAULT
                                                           JUDGMENT
TAVERNA KYCLADES, INC. (D/B/A)
TAVERNA KYCLADES, and THEMIOS
PAPADOPOULOS,

                                    Defendants.
-------------------------------------------------------X
        The summons and complaint in this action having been duly served on the above-named

Defendants, TAVERNA KYCLADES, INC. and THEMIOS PAPADOPOULOS said

Defendants having failed to plead or otherwise defend in this action, and said default having

been duly noted, and upon the annexed Affidavit in support of entry of default judgment, with

exhibits thereto;

       NOW, on motion of by Order to Show Cause of Michael Faillace & Associates, PC,

counsel for Plaintiffs, it is hereby ORDERED and ADJUDGED

        That Plaintiffs Arnulfo Maldonado, Jorge Leyva Cabrera, and Domingo Juarez, do

recover of Defendants , Taverna Kyclades, Inc.and Themios Papadopoulos, the sum of

$365,040.90, including:

        1) For Plaintiff Maldonado:
            a) Unpaid minimum wages and overtime compensation in the amount of $81,943.50;
            b) Unpaid spread of hours pay in the amount of $6,528.80;
            c) Liquidated damages for unpaid minimum wages and overtime compensation in
                 the amount of $81,943.50;
            d) Liquidated damages for unpaid spread of hours pay in the amount of $6,528.80;
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          e) Statutory damages for the violation of New York Labor Law § 195 in the amount
              of $10,000.00;
          f) Pre-judgment interest on unpaid minimum wages and overtime calculated at a rate
              of 9% per annum to the date of judgment and totaling $26,654.35 as of March 4,
              2021;
          g) Pre-judgment interest on unpaid spread of hours pay calculated at a rate of 9% per
              annum to the date of judgment and totaling $1,964.46 as of March 4, 2021;
       2) For Plaintiff Cabrera:

          a) Unpaid minimum wages and overtime compensation in the amount of $30,970.50;
          b) Liquidated damages for unpaid minimum wages and overtime compensation in
              the amount of
          c) Statutory damages for the violation of New York Labor Law § 195 in the amount
              of $30,970.50;
          d) Pre-judgment interest on unpaid minimum wages and overtime calculated at a rate
              of 9% per annum to the date of judgment and totaling $10,270.24 as of March 4,
              2021
       3) For Plaintiff Juarez:

          a) Unpaid minimum wages and overtime compensation in the amount of $25,512.00;
          b) Liquidated damages for unpaid minimum wages and overtime compensation in
              the amount of
          c) Statutory damages for the violation of New York Labor Law § 195 in the amount
              of $25,512.00;
          d) Pre-judgment interest on unpaid minimum wages and overtime calculated at a rate
              of 9% per annum to the date of judgment and totaling $6,242.25 as of March 4,
              2021; AND


       That Plaintiffs Arnulfo Maldonado, Jorge Leyva Cabrera, and Domingo Juarez are

awarded attorneys’ fees in the amount of $13,600.00 and costs in the amount of $905.60; AND




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          That Arnulfo Maldonado, Jorge Leyva Cabrera, and Domingo Juarez are awarded post

judgment interest, as calculation under 28 U.S.C. § 1961 and that if any amounts remain unpaid

upon the expiration of ninety days following issuance of judgment, or ninety days after

expiration of the time to appeal and no appeal is then pending, whichever is later, the total

amount of judgment shall automatically increase by fifteen percent, as required by NYLL §

198(4).

Dated:          New York, New York
                            , 2021


                                                         HON. LORNA G. SCHOFIELD
                                                         UNITED STATES DISTRICT JUDGE

                                                  This document was entered on the docket on




Dated: New York, New York

          _____________, 2021.



                                        ____________________________________________
                                        HONORABLE SARAH NETBURN
                                        UNITED STATES MAGISTRATE JUDGE




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